        Case 1:20-cv-03885-TMR Document 87               Filed 08/18/22    Page 1 of 2




                UNITED STATES COURT OF INTERNATIONAL TRADE

BEFORE THE HONORABLE TIMOTHY M. REIF, JUDGE

                                                          )
 JIANGSU SENMAO BAMBOO AND WOOD                           )
 INDUSTRY CO., LTD., ET AL.,                              )
                                                          )
                     Plaintiffs, Consolidated Plaintiffs, )
                     and Plaintiff-Intervenors,           )
                                                          )
                     v.                                   )
                                                          )
 UNITED STATES,                                           ) Consol. Court No. 20-03885
                                                          )
                     Defendant, and                       )
                                                          )
 AMERICAN MANUFACTURERS OF                                )
 MULTILAYERED WOOD FLOORING                               )
                                                          )
                                                          )
                     Defendant-Intervenors.               )
                                                          )
                                                          )


    RESPONSE OF FINE FURNITURE (SHANGHAI) LIMITED AND DOUBLE F
    LIMITED REGARDING REDACTIONS TO COURT’S OPINION AND ORDER

       Pursuant to the Court’s instructions in its letter dated August 11, 2022 (ECF No. 86),

plaintiffs and plaintiffs-intervenors Fine Furniture (Shanghai) Limited and Double F Limited

(“Fine Furniture”) respectfully submit this response regarding redactions to information included

in the Court’s opinion and order on that same date (ECF No. 85). Fine Furniture defers to the

sound opinion of the other parties in this appeal whose data was directly cited by the Court and

who are in the best position to comment on the confidential treatment of such information.


       Dated: August 18, 2022                       Respectfully submitted,
                                                    /s/ Kristin H. Mowry
                                                    Kristin H. Mowry
                                                    Sarah M. Wyss
Case 1:20-cv-03885-TMR Document 87   Filed 08/18/22   Page 2 of 2




                                 MOWRY & GRIMSON, PLLC
                                 5335 Wisconsin Ave., NW, Suite 810
                                 Washington, DC 20015
                                 202.688.3610 (ph)
                                 202.595.8968 (fax)
                                 trade@mowrygrimson.com
                                 Counsel to Fine Furniture




                             2
